                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                               )
UNITED STATES OF AMERICA                       )   Criminal No.: 19-10117-IT-7
                                               )
                v.                             )
                                               )
 (7) AGUSTIN FRANCISCO HUNEEUS,                )
                                               )
                       Defendant               )
                                               )

           GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

       The government respectfully submits this supplemental memorandum in connection with

the sentencing of defendant Agustin Francisco Huneeus.

                                          Introduction

       Huneeus is a wealthy vintner1 who agreed to pay $50,000 to have a corrupt proctor

artificially inflate his daughter’s SAT scores, and another $250,000 to have the same daughter

fraudulently recruited to the University of Southern California (“USC”) as a water polo player.

       Huneeus was assertive and self-assured in his interactions with co-conspirator William

“Rick” Singer. He was clear about what he expected, and demanded assurances that he would

receive his bribe money back if the schemes failed. He chastised Singer for not giving the scheme

enough attention. And although Huneeus feared getting caught and at one point noted, in passing,

that he felt “guilty” about cheating, see Ex. A at 26 (August 30, 2018 call transcript), he never

backed out. Instead, he actively participated in the fraud over a two-year period, enlisted his




       1
         Huneeus is, among other things, the former owner and operator of HV, LLC, a business
operating several vineyards and wineries based in Napa, California.
daughter as a knowing participant, and even considered involving another daughter to help the

scheme succeed.

       For his actions, Huneeus should be sentenced to 15 months of incarceration, followed by

12 months of supervised release, and a fine of $95,000.2

  I.   Huneeus Actively Engaged in Both the Exam and Recruitment Schemes

       Alone among the 11 defendants who have pled guilty to the Information in this case,

Huneeus was involved in both the exam cheating and college recruitment schemes.

       By May 2017, Huneeus had agreed with Singer to pursue the exam scheme and started

taking the necessary steps. He began by seeking an accommodation that would enable his daughter

to take her SAT at the corrupt facility Singer controlled in Los Angeles. See, e.g., Ex. B (May 25,

2017 e-mail in which Singer introduces Huneeus to two psychologists, notes that Huneeus’s

daughter “needs testing for 100 percent time with multiple days,” and advises “Please connect.”).3

At the time, Huneeus’s daughter was a sophomore at Marin Academy, a private school in San

Rafael, California, that offers specialized services for students with learning disabilities, including

assistance coordinating standardized tests for students requiring testing accommodations.4

       In October 2017, Huneeus told a Marin Academy counselor that his daughter would not

take the PSAT exam, which the school required, due to “profound distractions” she was



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          The government’s recommendation is outside the applicable Guidelines range as
determined by the Court, but consistent with the conclusion in the Pre-Sentence Report (“PSR”)
that the offense level may “substantially understate[] the seriousness of the defendant’s offense”
and warrant an upward departure. See PSR at ¶142.
       3
         All exhibits are being submitted to the Court under seal, together with a motion to seal,
pursuant to the protective order entered by Magistrate Judge Kelley in related cases. See, e.g., 19-
CR-10081-IT Dkt. 165.
       4
         See “Learning Services,” MARIN ACADEMY, available at https://www.ma.org/academic
s/signature-programs.


                                                  2
experiencing as a result of fires near the family’s Napa Valley vineyards. See Ex. C (October 10,

2017 e-mail). Singer’s standard advice to his co-conspirators was not to have their children take

the PSAT because a low PSAT score would be conspicuously at odds with a high SAT score

obtained through cheating. No PSAT, no discrepancy.

       Three months later, having obtained the testing accommodation he needed to transfer the

exam to Singer’s facility, Huneeus lied to his daughter’s school counselors again. This time, he

used the lie Singer proposed to him: that his daughter would take the SAT in Los Angeles,

hundreds of miles from home, because of a “long standing commitment” there that weekend. See,

e.g., Ex. D (January 22, 2018 e-mail chain); Ex. E (January 23, 2018 e-mail from Huneeus to high

school counselor); Ex. F (February 16, 2018 e-mail chain).

       On March 10, 2018, Huneeus’s daughter took the SAT at the West Hollywood Test Center

Singer controlled, under the purported supervision of his corrupt proctor, Mark Riddell. Unlike

most of the children in this case, she was in on the scheme, and Riddell didn’t bother to wait until

after the test to correct her answers – he helped her during the exam. By cheating with Riddell,

she received a score of 1380 out of a possible 1600, in the 96th percentile nationally. See, e.g.,

Ex. G (SAT Score Report). Nonetheless, Huneeus wanted to know why his daughter’s fraudulent

score wasn’t even higher. See, e.g., Ex. A at 11-12. Singer explained that a higher score “would

have got investigated for sure based on her grades.” Id. In April 2018, Huneeus paid for the exam

cheating fraud by making a purported contribution of $50,000 to Singer’s Key Worldwide

Foundation (“KWF”). Singer, in turn, paid Riddell and Igor Dvorskiy, the complicit test center

administrator, $10,000 each.

       Huneeus was not satisfied. He considered pursuing the exam scheme again – not once, but

two more times. In May 2018, Huneeus began to repeat the scheme by registering his daughter to




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take the ACT exam with accommodations, telling a high school counselor that, although his

daughter “got a pretty good score on the sat [sic] . . . we thought [taking the ACT] was worth a

try.” See Ex. H (May 4, 2018 e-mail). In August 2018, he asked Singer if it was possible to cheat

on the SAT subject tests, and whether adding a fraudulent ACT score to the fraudulent SAT score

would improve his daughter’s chances at getting into USC or Barnard. See Ex. A at 29-31.

       Ultimately, Huneeus decided to use the recruitment fraud instead of the exam fraud to

secure his daughter’s admission to USC. In a call on August 30, 2018, which was intercepted

pursuant to a Court-authorized wiretap, Huneeus asked Singer to “walk me through the whole,

kinda, water polo thing again and how it works . . . like the economics, the timing, how all that

works.” See Ex. A at 1. Huneeus’s daughter played water polo, but not at a level that would have

warranted her recruitment to a college team. Singer explained that he would create a water polo

profile for Huneeus’s daughter and provide it to Donna Heinel, the senior women’s athletic director

at USC, who would use to it secure Huneeus’s daughter’s admission. Id. at 2-3.

       “At that point,” Singer explained, “you will write a check for $50,000 that will, I’ll give

you the address, and exactly who-- it will go to Donna Heinel and for senior women’s athletic

director. It will be made out to USC Women’s Athletics. . . . [I]t just goes right in, right to her,

she took care of that part, and then when you get your, and then we apply, we send her application.

Essentially, you’ve been admitted before she even has applied.” Id. at 4-5. Singer explained that

Singer’s charitable foundation would send Huneeus a $200,000 invoice and a letter that he could

use to obtain a tax write off when Huneeus’s daughter received a final acceptance letter from USC.

Id. at 6. And then, he said, “Jovan [Vavic, the USC water polo coach] will call me and say, ‘Okay,

this is how I want the money split,’ and so on and so forth.” Id.




                                                 4
       Singer added: “What Jovan usually does is, I subsidize his staff salaries. . . . I put two of

his staff members on my books as contractors. . . . And then I pay them throughout the year . . . .

So, this is a way of, all coaches there know that now, so they just call me instead, because they

don’t want it to go to the general fund. . . . ’Cause he’s the guy giving up the spot.” Id. at 7.

       Huneeus told Singer that his daughter was “not worthy to be on that team,” and he worried

that the scheme could “blow up in my face . . . . like some article comes out that the, the polo team

is selling seats into the school for 250 grand.” Id. at 22. Singer explained that Vavic is “my guy,”

adding, “[H]e knows [s]he’s not coming to play, he knows all that.” Id. at 3-4.

       In September, Huneeus instructed his daughter to send Singer a photograph of herself

playing water polo for use in the fake profile, see Ex. I at 1 (September 18, 2018 call transcript),

and to write a short falsified explanation for why she had repeated her sophomore year after

transferring from one high school to another, see Ex. J at 1 (September 19, 2018 call transcript).

She wrote: “[I]n retrospect [the decision to repeat a year] was the best decision I could have made.

Because of it, today I feel like a strong and capable student and athlete that could do very well at

USC.” Ex. K (September 19, 2018 e-mail) (emphasis added). Of course, both Huneeus and his

daughter knew this wasn’t true. Indeed, as she acknowledged in her application to Tulane

University, “if sports were graded like academics, I would be awarded the polo equivalent of the

gentlemen’s C.” See Ex. L at 11(Tulane University application).

       In October 2018, Huneeus was growing concerned about the scheme’s prospects and

demanded that Singer confirm he was getting the same level of attention as other, wealthier co-

conspirators. Singer, who by this point was cooperating with the government’s investigation,

assured Huneeus that he was. Singer told Huneeus that he had gone so far as to use a photograph

of another individual on Huneeus’s daughter’s water polo profile, after she had failed to provide a




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photograph of herself in sufficient time. The following is an excerpt from their call, which was

consensually recorded.

           HUNEEUS           ‘Cause you got CEOs of everybody. You’ve got McGlashan
                             whose investing in your education company. You know,
                             who am I--

           SINGER            He’s not, he’s not.

           HUNEEUS           Okay.

           SINGER            He’s not—‘cause we didn’t want to take their investment,
                             because they take control.

           HUNEEUS           Okay. I’m just, I’m just-- telling you the story I tell myself
                             late at night when I can’t sleep.

           SINGER            [Laughing]. All right, let me lay this out, okay? No, to show
                             you how much I care, I did-- we did everything we could
                             possibly do to create her profile, right?

           HUNEEUS           Yes.

           SINGER            We waited six months, or longer, to get this friggin’ picture.

           HUNEEUS           Yeah, I can’t believe we lose this, we blew this on a fuckin’
                             picture. That’s just awful.

           SINGER            Uh, so what I did. So this is how much I care. I found a
                             picture that I could put in the place of the picture we wanted
                             so that I could submit on the day of. Because I waited.
                             That’s how much I wanted this to happen.

           HUNEEUS           Okay.

           SINGER            And it wasn’t even a picture of her! But it could suffice,
                             right? I did everything that I could do to make it happen.
                             Your daughter and I texted the whole day, “Where’s the
                             picture? Where’s the picture?” The girl--

           HUNEEUS           No, listen. I know Rick.




                                               6
See Ex. M at 2-5 (October 2, 2018 call transcript).

       One week later, Singer met in person with Huneeus and his daughter. See Ex. N at 44-45

(October 8, 2018 meeting transcript). At the meeting, Huneeus instructed his daughter not to

discuss the scheme with anybody and to have a “keep-your-trap-shut mentality.” Id.

       On November 8, 2018, Singer forwarded Huneeus a conditional acceptance letter from

USC, and requested that he “[p]lease send 50K check . . . made payable to USC Women’s Athletic

Board . . . to USC Women’s Athletic Board . . . c/o Donna Heinel.” Ex. O (November 8, 2018 e-

mail between Singer and Huneeus). Huneeus directed his assistant to send the check. See, e.g.,

Ex. P (November 16, 2018 e-mail from Huneeus’s assistant to Singer).

       Later that month, Singer – acting at the direction of law enforcement agents – told Huneeus

that the Internal Revenue Service (“IRS”) was conducting an audit of KWF.                During the

consensually recorded call, Huneeus agreed to mislead the IRS to conceal the scheme. He asked

Singer, “Dude, dude, what do you think, I’m a moron?” before adding, “I’m going to say that I’ve

been inspired [by] how you’re helping underprivileged kids get into college. Totally got it.” Ex. Q

at 1-2 (November 29, 2018 call transcript); see also Ex. R at 1 (November 30, 2018 call transcript,

in which Huneeus said “I take [the IRS audit] totally seriously and I got your back”).

       Ultimately, Huneeus was arrested before USC formally admitted his daughter. As a result,

he did not make the final agreed-upon payment of $200,000 to Singer.

 II.   Huneeus’s Criminal Conduct Requires a Meaningful Term of Incarceration

       Huneeus is the only defendant appearing before this Court who engaged in both the college

exam and the athletic recruitment schemes. Indeed, as Huneeus made clear, he was willing to

commit as much fraud as was necessary to secure his daughter’s admission to college. He agreed

to pay Singer $300,000 to facilitate the schemes – the second-highest sum among any of the

defendants charged in this Information. He involved his daughter in both illicit schemes and told


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her to adopt a “shut-your-trap mentality” about their crime. He was eager to pursue the exam

scheme again, changing course only when he decided the recruitment scheme would be even better.

       Huneeus was a demanding fraud client. He was disappointed that Riddell didn’t earn his

daughter a higher score. He was suspicious that Singer wasn’t devoting as much attention to her

fraudulent application as he was to the fraudulent applications of his other clients’ children. He

was upset that his daughter’s tardiness in supplying a photograph of herself might have jeopardized

the scheme’s success – but expressed no concern about using a photograph of another individual

playing water polo to support his daughter’s application. And he wanted to make sure he would

get his money back if the plan didn’t work. See Ex. A at 5 (“Okay, so there’s no chance I give that

50 and then she’s not admitted?”).

       Huneeus also did whatever he could do to make sure the fraud succeeded. He repeatedly

lied to his daughter’s high school counselors. He agreed, without hesitation, to mislead the IRS

with a ruse about “helping underprivileged kids get into college” (and on an earlier occasion, asked

Singer if he could “pace out” his payments, because he would otherwise not be able to write them

off given that 2018 was “not a taxable year of me,” see Ex. S at 8 (October 25, 2018 call

transcript)). He was vigilant about the need to keep quiet to protect the fraud, and he taught his

daughter to do the same. He even suggested alternative cheating techniques, at one point proposing

that, instead of using Riddell, his older daughter simply take the ACT in place of his younger

daughter because, in Huneeus’s words, “she looks just like her sister.” See Ex A at 29-30.

       Huneeus’s crime was calculated and carefully planned. From the outset until his arrest in

March 2019, Huneeus wanted to know exactly how the fraud worked, proposed ways to make it

more effective, and demanded Singer’s attention. He did all this while acknowledging to Singer




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that what they were doing was wrong, that the scheme could “blow up in [his] face,” and that the

press might discover that “the polo team is selling seats into the school for 250 grand.”

       But Huneeus was not deterred by the criminality of his conduct or the fear that his crime

would be discovered. He embraced the fraud, wanted to expand it, and even proposed involving

two of his daughters in it. The term of imprisonment recommended by the government is the only

appropriate sentence in such circumstances.

                                           Conclusion

       Huneeus should be sentenced to 15 months of incarceration, 12 months of supervised

release, and a fine of $95,000.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney

                                              By:     /s/ Justin D. O’Connell
                                                     ERIC S. ROSEN
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                                                     Assistant United States Attorneys

Date: September 27, 2019




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                              CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the above document was served upon the attorney of

records for each other party by CM/ECF on September 27, 2019.


                                           By:     /s/ Justin D. O’Connell
                                                  JUSTIN D. O’CONNELL
